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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 ABILENE DIVISION

W.M.M., on his own behalf and on behalf of
all others similarly situated, et al.,

        Petitioners-Plaintiffs,

v.                                                             No. 1:25-CV-059-H

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

        Respondents-Defendants.

                                            ORDER

       Before the Court is the petitioners’ motion for reconsideration of the Court’s previous

order denying class certification. Dkt. No. 68. In the Court’s order denying class

certification (Dkt. No. 67), the Court stated that “[i]n the event that the Supreme Court

grants the [petitioners’] pending petition for a writ of certiorari, this Order is automatically

vacated.” Dkt. No. 67 at 2. The Supreme Court subsequently granted certiorari, thus

vacating the Court’s order. See A.A.R.P. v. Trump, No. 24A1007, 24-1177, 2025 WL

1417281, at *3 n.1 (U.S. May 16, 2025).

       The Supreme Court also remanded the case to the Fifth Circuit. Id. at *4. The Fifth

Circuit now has jurisdiction over the matters appealed. See Alice L. v. Dusek, 492 F.3d 563,

564 (5th Cir. 2007) (noting that an interlocutory appeal divests a district court of jurisdiction

over those aspects of the case on appeal). In their notice of appeal, the petitioners appealed

the Court’s order denying the first motion for a temporary restraining order (Dkt. No. 27),

as well as the “constructive denials” of the petitioners’ motions for class certification (Dkt.
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Nos. 3; 35-2) 1 and second motion for a temporary restraining order (Dkt. No. 30). See Dkt.

No. 36.

          Because the grant of certiorari automatically resulted in vacatur of the Court’s order

denying class certification (Dkt. No. 67), and the Fifth Circuit now has jurisdiction over the

issue of class certification, the Court denies as moot the motion for reconsideration (Dkt.

No. 68).

          So ordered on May 23, 2025.



                                                  JAMES WESLEY HENDRIX
                                                  UNITED STATES DISTRICT JUDGE




1
    The latter is now Dkt. No. 39.


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